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DECLARATION OF MARGARET HALL OFFENBACH

My name is Margaret Hall Offenbach. | am an adult resident of Allegheny County,
Pennsylvania. I state as follows:

1. Jay Hall was my older brother. Jay was the oldest, then my brother, Bill, and I am the
youngest.
2. When my brother Jay and Carol first got married they lived with my parents for about a

year. Later they lived in my parents’ garage which had been converted into a little
cottage. Four of their children were born during the time they lived in this little house. |
was still living at home at this time.

3. After they moved to the house Jay built in the country, the children were frequently at my
parents’ home. My mother frequently had one or two of my brother’s children. After I
married and lived in Pittsburgh, when Mother visited us she would bring one or two of
the children along for holiday dinners. My mother worked two jobs but she always had
time for Jay’s children. Carol’s parents helped raised Sheryl. Sheryl spent a large portion
of her childhood years with Carol’s parents in Stahlstown, Pennsylvania on her

grandparents farm.

4. My brother, Jay, tried as hard as he could. Jay said it was a wonderful feeling to be able
to provide a home and food for his family. He was so thrilled when Debbie, his second
oldest child, went to college to become a teacher.

5. My brother, Bill, had a farm. Jay, Jr. and Jeff would usually spend the summer months
with Bill on the farm.

6. Jay and Carol had a volatile relationship. Jay lived through a lot. I would become
distressed about Jay’s situation when he confided in me.

7. After I was married I lived in Pittsburgh. Jay worked in Pittsburgh. On nights when he
had a union meeting, he wouid shower and change clothes at our house to attend the
union meetings.

8. Jay would tell us about some of the problems in his relationship with Carol. Jay
contemplated divorce and they even separated at one point. However, he felt that courts
tended to award children to the mother. He did not want to lose the children so he felt he
had to go back home and try to live peaceably.

9. Jay told me that one time while at work he thought he was having appendicitis attack, it
was early spring and he went home early. When he pulled into the garage he saw Jon
crying and kicking the door trying to get in. Jon was outside alone. Jon was either too
little to turn the door knob or was locked out.
10.

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12.

14.

foregoing is true and correct.

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After Jay’s death and the funeral Carol was very negative about Jay. So, J distanced
myself from her. I loved and respected my brother. He was blamed for all problems in
their marriage. J know it takes two people to create a problem in a marriage and it hurt
mie to have all the blame placed on my brother.

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Yay Wao alk

the union.

Carol remarried soon after Jay died. I was embarrassed for my friends to know Caro! had
remarried so soon.

Jay had told me that Caro] had received stock in an inheritance from her aunt. After Jay
died, I know that my parents would have helped Carol if she had needed financial help to
keep the house.

I was not contacted by Jon’s attorneys prior to his trial. If they had contacted me, I would
have told them about the above matters and probably would have remembered more

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I declare under penalty of perjury under the laws of the United States of America that the

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Margaret Hall Offenbach |

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